                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. TDC-20-33
                                                *
 BRIAN MARK LEMLEY, JR.,                        *
                                                *
                Defendant                       *
                                                *
                                             *******
                      SUPPLEMENTAL MOTION FOR DETENTION

       The defendant remains a clear and present danger to the community and a flight risk. He

should be detained pending trial.

                                          Background

        On January 16, 2020, the defendant was arrested pursuant to a federal criminal complaint,

which charged him with various firearm and alien-related offenses. See Case No. 20-mj-192-CBD,

ECF No. 1. At the defendant’s initial appearance the same day, Magistrate Judge Sullivan

temporarily detained the defendant pending a detention hearing. See Case No. 20-mj-192-CBD,

ECF No. 8. In an extensive motion filed on January 21, 2020, the Government set forth substantial

evidence in favor of detention. See Case No. 20-mj-192-CBD, ECF No. 13. The same day, the

defendant consented to detention, reserving his right to have a detention hearing at a later date.

See Case No. 20-mj-192-CBD, ECF No. 12.

       On January 27, 2020, a federal grand jury for the District of Maryland returned an

indictment charging the defendant with twelve felony counts, including transporting certain aliens,

harboring certain aliens, conspiracy to transport and harbor certain aliens, transporting a machine

gun in interstate commerce, disposing of a firearm and ammunition to an illegal alien, aiding-and-
abetting an alien in possession of a firearm, and transporting a firearm and ammunition in interstate

commerce with the intent to commit a felony. ECF No. 40.

       On January 28, 2020, a federal grand jury for the District of Delaware returned an

indictment charging the defendant with six felony counts, including transporting certain aliens,

harboring certain aliens, aiding-and-abetting an alien in possession of a firearm, possession of a

machine gun, failing to register a machine gun, and obstruction of justice. See Case No. 20-00009-

cr-LPS (D. Del.).

       On March 11, 2020, the defendant asked the Court to set a detention hearing. ECF No. 68.

The original date was postponed due to the Court’s measures regarding COVID-19. The Court

now has set the detention hearing for March 31, 2020, at 11:00 a.m.

                                            Argument

       In its original detention motion, the Government extensively discussed the reasons the

defendant should be detained. See Case No. 20-mj-192-CBD, ECF No. 13. The Government will

not repeat those reasons here. Rather, the Government writes to add to the Court’s consideration

certain events that have occurred since the defendant’s arrest.

       First, as discussed above, the defendant now faces federal indictments in both Maryland

and Delaware. The multiple charges in each jurisdiction, including firearm charges in both

jurisdictions and obstruction of justice in Delaware, demonstrate that the Defendant is an even

greater danger to the community, and counsel in favor of detention.

       Second, both of the defendant’s co-defendants—Patrick Jordan Mathews and William

Garfield Bilbrough IV—have been detained. If anything, this defendant is more dangerous and

more of a flight risk than his co-defendants.




                                                 2
       Third, as detailed in an FBI FD-302 provided to the defense in discovery, the defendant

made certain unprompted statements while being transported after his arrest on January 16, 2020.

In certain relevant part, the FD-302 reads:

               LEMLEY condemned communists, radical leftists, and the “gay
               agenda,” and expressed idolatry for fascism. LEMLEY said fascism
               advocated for the removal of “parasites” from society. LEMLEY
               told the Agents the average IQ of a white person is between 100 and
               110, while the average “border jumper” had an IQ of 70. Lowering
               the collective IQ of the population would make the population easier
               to control. . . . LEMLEY told Agents “Oh, on the fuckhead, yea you
               got me on that” and motioned to the vehicle that was transporting
               PATRIK JORDAN MATHEWS.

                                              Conclusion

       For the foregoing reasons, as well as those discussed in the Government’s initial motion

for detention, the Court should order the defendant detained pending trial.



                                                      Respectfully submitted,

                                                      Robert K. Hur
                                                      United States Attorney

                                                      /s/
                                                      Thomas P. Windom
                                                      Thomas M. Sullivan
                                                      Assistant United States Attorneys

                                                      Jamie M. McCall
                                                      Special Assistant United States Attorney




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